Case 3:15-cv-01735-H-RBB Document 164 Filed 03/25/16 PageID.7629 Page 1 of 2



  1                            UNITED STATES DISTRICT COURT
  2                        SOUTHERN DISTRICT OF CALIFORNIA
  3                                      SAN DIEGO DIVISION
  4

  5
      ODYSSEY WIRELESS, INC.,                              Case No. 3:15-CV-01735-H-RBB
  6
                          Plaintiff,                       ORDER PERMITTING ENTRY AND
  7                                                        USE OF LAPTOP COMPUTERS FOR
              v.                                           MARCH 29, 2016 CLAIM
  8                                                        CONSTRUCTION HEARING
  9   APPLE INC.,                                          Date: March 29, 2016
                                                           Time: 9:00 a.m.
 10                       Defendant.                       Judge: Hon. Marilyn Huff
 11

 12   ODYSSEY WIRELESS, INC.,                              Case No. 3:15-cv-01738-H-RBB
 13                       Plaintiff,
 14           v.
 15
      SAMSUNG ELECTRONICS CO.,
 16   LTD, et al.,
 17                       Defendants.
 18
 19   ODYSSEY WIRELESS, INC.,                              Case No. 3:15-cv-01741-H-RBB
 20                       Plaintiff,
 21           v.
 22
      MOTOROLA MOBILITY LLC,
 23
                          Defendant.
 24

 25

 26

 27
 28

      Case Nos. 3:15-CV-01735, 1738, 1741, 1743-H-RBB               ORDER PERMITTING ENTRY AND
                                                        USE OF LAPTOP COMPUTERS ON MARCH 29, 2016
Case 3:15-cv-01735-H-RBB Document 164 Filed 03/25/16 PageID.7630 Page 2 of 2



  1
      ODYSSEY WIRELESS, INC.,                               Case No. 3:15-cv-01743-H-RBB
  2
                          Plaintiff,
  3
              v.
  4
      LG ELECTRONICS, INC., et al.,
  5

  6                       Defendants.

  7

  8           The Court hereby GRANTS Defendants permission to bring laptop
  9   computers and related equipment (e.g., adapters and extension cords) into the
 10   courtroom on March 29, 2016 and to use such equipment during the claim
 11   construction hearing.
 12

 13           IT IS SO ORDERED.
 14
      Dated: March 25, 2016                             __________________________________
 15                                                     Hon. Marilyn L. Huff
 16
                                                        United States District Judge

 17

 18
 19

 20

 21

 22

 23

 24

 25

 26

 27
 28

      Case Nos. 3:15-CV-01735, 1738, 1741, 1743-H-RBB                ORDER PERMITTING ENTRY AND
                                                         USE OF LAPTOP COMPUTERS ON MARCH 29, 2016
